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                                                     April 14, 2023

 VIA ECF

 Hon. Joan M. Azrack, USDJ
 United States District Court, Eastern District of New York
 100 Federal Plaza
 Central Islip, NY 11722

        Re:     D'Aguino v Garda CL Atlantic, Inc, Case No. 16-CV-00641 (JMA)(SIL)

 Dear Judge Azrack:

        I represent various Plaintiffs in the above referenced matter. The parties submit the
 following revised briefing schedule as directed by the Court’s order of April 6, 2023.

        Plaintiffs’ Motion                                    May 15, 2023

        Defendant’s Opposition                                June 15, 2023

        Plaintiffs’ Reply                                     June 30, 2023


                                                     Respectfully submitted,

                                                     Steven J. Moser
                                                     Steven J. Moser

 CC:    All counsel of record via ECF




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